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EXHIBIT “3”
Case 2:20-cv-04720-ODW-PLA Document 1-3 Filed 05/27/20 Page 20f10 Page ID #:58

Lisa Vondran

 

 

From: Claims@VondranLegal

Sent: Thursday, September 19, 2019 11:12 AM

To: giftsdetightIlc@gmail.com; sales@complianceassistance.us

Subject: RE: CASE #920 FINAL DEMAND NOTICE/COPYRIGHT PHOTO INFRINGEMENT

Attachments: 920 GIFTS DELIGHT LLC DEMAND PACKET. pdf; 920 GIFTS DELIGHT, LLC,
COMPLAINT. docx, pdf 7

Dear Sir/Madam,

We have attempted to previously contact you. Your company has unlawfully used my Client’s
image(s) to seek to use them commercially on your website. We requested a response to our
demand letter which sought to settle this case amicably out of court, and to date this matter
has not been officially settled. Attached is a link to a recent decision where a Defendant
refused to respond to a McGucken photo infringement complaint, which as you can see,
resulted in a 120k award.

https://www.bloomberglaw.com/public/desktop/document/McGucken v DMI Holdings No
CV 184837 DSF GJSx 2019 BL 126220 CD C?1554935078

We are willing to seek to resolve this case amicably, but we cannot do so if you chose not to
respond to this Demand. Please note, this matter will not go away simply by ignoring it or
taking down the infringing photo,

So, please consider this our last attempt to contact you, if we do not hear from you in a timely
manner we will assume that you have no intention to resolve your past infringement issues
out of court.

PLEASE SEE THE ATTACHED DOCUMENT WHICH HAS BEEN PREPARED AND iS READY TO FILE:
“COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF FOR COPYRIGHT
INFRINGEMENT/DEMAND FOR A JURY TRIAL”

if you would like to propose a counter-offer to the original Demand, we welcome that and
please do so in writing. PLEASE REFERENCE YOUR CASE #920 ON ALL CORRESPONDENCE. |
have attached a copy of the original Demand Letter for your reference thereto,

Thank you,

Steve Vondran
Case 3

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Steven C. Vondran, [SBN 232337]

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Newport Beach, CA 92660

Telephone: (877) 276-5084

Facsimile: (888) 551-2252

E-mail: steve@vondranlegal.com

 

Attorney for Plaintiff: Dr. Eifiot McGucken
UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
DR. ELLIOT MCGUCKEN, an individual,
Case No.
Plaintiff,
vs. COMPLAINT FOR DAMAGES

AND INJUNCTIVE RELIEF FOR
GIFTS DELIGHT, LLC., and DOES 1-25 | COPYRIGHT INFRINGEMENT
inclusive,

Defendant(s) DEMAND FOR A JURY TRIAL

 

 

COMES NOW Dr. Elliot McGucken (“Plaintiff”), hereby alleging as follows:
JURISDICTION AND VENUE
1. This is a civil action seeking damages and injunctive relief for copyright
infringement under the Copyright Act of the United States, 77 U.S.C. $101 et seq.
2. This Court has subject matter jurisdiction over Plaintiff’s claims for
copyright infringement pursuant to 28 U.S.C. §1331 (federal question) and 28 US.C.§

1338 (jurisdiction over copyright actions).

 

 
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Newport Beach, California 92660

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3. This Court has personal jurisdiction over Defendants because Defendants
have targeted and caused damage in this jurisdiction the brunt of the infringement injury
which can be felt in this jurisdiction.

4, Venue in this judicial district is proper under 28 U.S.C. $1391 et seq. and in
that this is the judicial district in which a substantial part of the acts and/or omissions
giving rise to the claims are believed to have occurred and where personal jurisdiction
otherwise exists as Defendants activities injured Plaintiff in this jurisdiction.

PARTIES

5, Plaintiff Dr. Elliot McGucken (“McGucken or “Plaintiff’) is a professional
photographer and author residing in Los Angeles, California. He does not sell his images
on stock art websites. He has sold his art for as high as $8,000 and his work has appeared
on the cover of Nikon magazine and in other publications. He routinely provides art to
U.C.L.A. medical. A list of his accolades can be found at Amazon.com - see Exhibit
“C.” He sells photography books on Amazon. His art and entrepreneurship course has
been reported in the New York Times.

6, Defendant GIFT DELIGHT, LLC., (“Defendant” and/or “Defendants”) has
infringed Plaintiff’s copyrights causing damage in this jurisdiction.

7. Plaintiff is unaware of the true names and capacities of the Defendants sued
herein as DOES | through 25, inclusive, and for that reason, sues such Defendants under
such fictitious names. Plaintiff is informed and believes and, on that basis, alleges that
such fictitiously named Defendants are responsible in some manner for the occurrences
herein alleged, and that Plaintiff’s damages as herein alleged were proximately caused
by the conduct of said Defendants. Plaintiff will seek to amend the complaint when the
names and capacities of such fictitiously named Defendants are ascertained. As alleged

herein, “Defendant” shall mean all named Defendants, and all fictitiously named

Defendants.

 

 
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8. For purposes of this Complaint, unless otherwise indicated, “Defendant”
includes all agents, employees’ officers, members, directors, heirs, successors, assigns,
principals, trustees, sureties, subrogates, representatives and, insurers of Defendants
named in this caption,

FACTUAL ALLEGATIONS

9, Plaintiff incorporates the allegations above as if alleged herein.

10. Plaintiff is a fine art photographer and author and has a Phd in physics, He
does not sell his photographs via any “stock images” websites and instead is in the
business of building a fine art brand with equisite photos that are subject to widespread
infringement requiring an ongoing enforcement effort.

11, Many persons incorrectly believe they can download and use his images,
without authorization for their own personal and commercial uses.

12. Plaintiff is the sole author and rights holder to the original photograph(s)
that were willfully infringed (the “Image” and/or “Work”), a true and correct copy of
which is attached hereto as Exhibit “A.”

13. Plaintiff has previously registered the Image with the United States
| Copyright Office as referenced in Exhibit “B”.

14. Defendants have unlawfully copied and/or reproduced and/or publicly
displayed Plaintiff’s Image, without consent or authorization COMMERCIALLY
capitalizing of Plaintiffs copyrighted Work.

15. Plaintiff discovered the Image being used on Defendant’s Website and
demanded that the photo(s)/images be taken down.

16. Plaintiff has never authorized the Defendant(s) to use the Image in any
manner whatsoever, and no license is known to exist.

17. On information and belief, the Defendants knew they did not have

permission to use the Image on the Website for commercial purposes, and willfully

 

 

 
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infringed Plaintiff’s Image by consciously failing to obtain a proper commercial license

and in reckless disregard of the rights of the photographer.

FIRST CAUSE OF ACTION
COPYRIGHT INFRINGEMENT

[Against All Defendants]

18. Plaintiff incorporates by reference all of the above paragraphs of this
Complaint and all Exhibits as though fully stated herein.

19, Plaintiff is informed and believes and thereon alleges that the Defendants
willfully violated the exclusive rights of Plaintiff original copyrighted work and
infringed upon Plaintiff’s copyrighted Image in violation of Title 17 of the U.S. Code, in
that it used, published, communicated, posted, distributed, and/or otherwise held out to
the public for commercial benefit, the original and unique Image of the Plaintiff without
Plaintiff’s consent or authority, by using it in the Infringing manner on Defendant’s
Website.

20, There is no fair use of Plaintiff’s work which is an original work of
authorship.

21. Plaintiff did not consent to, authorize, permit, consent, or allow in any
manner Defendant’s said use of Plaintiff’s unique and original Image including for any
reproduction, distribution, or public display.

22. Defendants were aware that they were violating the law and intentionally
infringing the copyright of Plaintiff as all works of authorship fixed in a tangible medium
of expression are subject to copyright laws.

23, Defendants are presumed to know the law, and thus presumed to know the

Images were copyrighted.

24, Defendants did not seek any license or permission to obtain or use the photo

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Images which are copies, reproductions and substantially similar to Plaintiff’s

copyrighted work.

25. Defendants willfully violated Plaintiffs exlusive rights to his Coyrights in
regard to:

(a) the exclusive right to reproduce its Works in Copies in violation of 77 U.S.C.
$106) and $501

(b) distribute copies of the Works to the public in violation of 17 U.S.C. §106(3)
and $501

(c) publicly displaying the copyrighted Works in violation of 17 U.S.C. §106(5)
and $105 by showing individual images of the Works.

26, Thus, they intentionally infringed, and acted in complete disregard of
Plaintiff's exclusive rights which, by law, Defendants are presumed to know and must
follow.

27. Defendants committed infringements “willfully” within the meaning of /7
USC. $504(6)2.

28. Asa result of Defendants willful violations of Title 17 of the U.S. Code,
Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or statutory
damages in an amount from $30,000 up to $150,000.00 per infringement pursuant to 77
U.S.C§ 504(c).

29, As aresult of the Defendants’ violations of Title 17 of the U.S. Code, the
court in its discretion may allow the recovery of full costs as well as reasonable attorney’s

fees and costs pursuant to /7 U.S.C § 505, Plaintiff seeks costs and reasonable attorney

fees.

30. Plaintiff is also entitled to injunctive relief to prevent or restrain

 

 

 
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infringement of his copyright pursuant to {7 U.S.C. $ 502 to prevent Defendant from

engaging in future acts of infringement of Plaintiff's valuable copyrighted works.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

e For an award of actual damages and disgorgement of all of Defendants profits
attributable to the infringement as provided by /7 U.S.C. $504 in an amount to be proven
at trial, or, in the alternative, at Plaintiff's election, an award for statutory damages
against Defendants in an amount from $30,000 up to $150,000.00 for each willful
infringement pursuant to 77 U.S.C. $504(c), whichever is larger;

¢ For an order pursuant to 77 U.S.C. §502(a) enjoining Defendants from any
further infringing use of any of Plaintiff’s Image;

| e For costs of litigation and reasonable attorney’s fees against Defendants

pursuant to /7 U.S.C. $505;
¢ For an award of pre- and post-judgment interest; and
e For any other relief the Court deems just and proper.

e Plaintiff hereby demands a jury trial

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INJUNCTION REQUESTED:

Defendants will suffer irreparable harm if Defendant is allowed to continue to infringe

Plaintiff's copyrights Works. WHEREFORE,

The Court should ORDER:

1. Defendants, and each of them, shall be, and hereby are, PERMANENTLY
ENJOINED from directly or indirectly infringing Plaintiff's copyrights.

2. This injunction shall apply to any parent company, subsidiary, or affiliate of
Plaintiff including without limitation by use of the Internet or any online media
distribution system to copy or reproduce (i.e. download, upload, record or copy),
to distribute (i.e. upload), or to make any of the Works available for distribution
to the public, except pursuant to a lawful license or with the express authority of
the Copyright holder.

3. Defendants shall destroy all copies of Plaintiffs Work(s) (whether existing in
digital format, online, physically or otherwise) from any and all hard drives,
servers, electronic storage devices, web servers, or other devices that exist without
Plaintiff's express written authorization and shall destroy all copies of those
Works transferred onto any physical medium and any device in Defendants’

possession, custody or control.

 

 
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4. Defendants shall provide notice of Compliance with this injunction to Plaintiff

within 30 days of the Court Order.

RESPECTFULLY SUBMITTED,

DATED: March 1" , 2019 THE LAW OFFICES OF STEVEN C.
VONDRAN, P.C.

By: /s/ Steven C. Vondran, Esq.

Steven C. Vondran, [SBN 232337]
ATTORNEY FOR PLAINTIFF

DR. ELLIOT MCGUCKEN

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